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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 SECURITIES AND EXCHANGE
 COMMISSION,
                                                     Civil Action No. 1:23-cv-01599-ABJ
                       Plaintiff,

        v.

 BINANCE HOLDINGS LIMITED, et al.,

                       Defendants.


             [PROPOSED] ORDER GRANTING MOTION FOR ADMISSION OF
                          SHEEHAN BAND PRO HAC VICE

       This Court has reviewed the Motion for Admission of Attorney Sheehan Band Pro Hac

Vice. Upon consideration of that motion, the Court grants attorney Sheehan Band pro hac vice

admission to this Court.

       It is so ORDERED on this ___ day of ____________________, 2023.




                                           The Honorable Amy Berman Jackson
                                           United States District Judge
